   'l:it.AO245C   (Rev. 3/01) Sheet I-Amended       Judgment in a Criminal Case
                  Case 3:00-cr-03209-W                         Document 496             Filed 01/03/07               PageID.3738               Page 1 of 4



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                                                    UNITED STATES DISTRICT COUR                                                             -.
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                                                                                                                                       :':,;J::1\'~:"Ui. Cii~nL;T COURT
                                                                 Southern District of California                                  SOUr-,';"~Rri
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                                                                                                                                                             DEPI11Y



              UNITED       STATES       OF AMERICA                                      AMENDED JUDGMENT IN A CRIMINAL CASE
                                   V.                                                   (For Offenses Committed On or After November I, 1987)
                                                                                        CASE NUMBER:                00CR3209- W
                  Jose Neffer Castro Carvajal (12)


  REGISTRATION NO.                                  59124198
  Date of Original Judgment:       March                 12, 2002                       Ezekiel       E. Cortez
  (Or Date of Last Amended Judgment)                                                    Defendant's    Attorney

               to the Sentencino Guidelines (18 IJ.S.C. S 3582(c\(2"                     Modification of Imposed Term of Imprisonment for Extraordinary
                                                                                                                                               Retroactive Amendment(s)
                                                                                                                                                              and
  X
 Comnellina        § 3559(c)(7)
              Reasons
      118 V.S.C.
                                                I
    Correction of Sentence on Remand (Fed. R. Crim. P. 35(a»
                        ()R 11.S.C. S 3582(c)(!))         .
                                                                                         Direct Motion oftoSupervision
                                                                                         Modification       District Court
                                                                                                                        Conditions   to V.S.C. §§ 3563(c) or 3583(e»
                                                                                                                           Pursuant (18

 28 V.S.c. § 2255




 THE DEFENDANT:

 Wpleaded         guilty to count(s)     one of the superseding indictment filed on November 21, 2006.

       Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
 Title & Section                                                                                                                                             Count
                                       Nature of Offense
                                                                                                                                                           Number(s)
 46 USC Appendix, 1903                 Conspiracy to Possess Cocaine on Board Vessels Subject to the Jurisdiction of the                                     SI
 (a),(c)( 1)(A),(c)( 1)(c)             United States
 (t) and U)


 The defendant is sentenced as provided                  in pages 2 through       _4_       of this judgment.        The sentence       is imposed     pursuant     to the
 Sentencing Reform Act of 1984.

The underlying indictment is ordered dismissed.



IT:}ine  Ordered $waived
0Assessment:       100.00, ordered waived, if not already paid.

          IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
chan~e
If      of name,
   Qfaered to pay residence,
                  restitution, orthemailing address
                                     defendant  shalluntil all the
                                                      notify   fines, restitution,
                                                                   court           costs,
                                                                          and United      and attorney
                                                                                       States special assessments  imposed
                                                                                                       of any material      by in
                                                                                                                       change  thisthejudgment  are fully
                                                                                                                                        defendant's       paid.
                                                                                                                                                    economic
circumstances.

                                                                                                  January 3, 2007
                                                                                   Date of Imposition of Sentence




                                                                                   THOMAS J. WHELA
                                                                                   (JNITFD 'T ATR' m.             ~/KT Inr.R
                                                                                                                    R   VJL-
                                                                                                                           IT
           Case 3:00-cr-03209-W               Document 496                Filed 01/03/07     PageID.3739                Page 2 of 4
            Sheet 2 -   Imprisonment

                                                                                                Judgment -   Page   ....::.2   _
                                                                                                                                   of   .±
 DEFENDANT:                     Jose Neffer Castro Carvajal
 CASE NUMBER:                   OOCR3209- W


                                                          IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
 time served.




 o      The court makes the following recommendations to the Bureau of Prisons:




o      The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district:

                                               o a.m.         o p.m.        on

       o      as notified by the United States Marshal.

o      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o      before 2 p.m. on

       o      as notified by the United States Marshal.

       o      as notified by the Probation or Pretrial Services Office.



                                                                RETURN

I have executed this judgment as follows:

       Defendant delivered on                                                      to

at
     --------------- , with a certified copy of this judgment.
                                                                                           UNITED STATES MARSHAL


                                                                                       DEPUTY UNITED STATES MARSHAL
                                                                       By   --::-:::PTITVUNITI~~-
        Case 3:00-cr-03209-W                  Document 496              Filed 01/03/07            PageID.3740            Page 3 of 4
          Sheet 3 -   Supervised   Release

                                                                                                       Judgment-Page      ---1...- of   ---4
  DEFENDANT:                   Jose Neffer Castro Carvajal
  CASE NUMBER:                 OOCR3209- W
                                                      SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of 5 years.
                                                  MANDATORY CONDITIONS

      The defendant shall reR0rt to the probation office in the district to which the defendant is released within 72 hours ofrelease from
 the custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not illegally possess a controlled substance.
 For offenses committed on or after September 13, 1994:
       The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
  15 days of release from imprisonment and at least two periodic drug tests thereafter.
 o The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse.

      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

            Drug testing requirements will not exceed submission of more than eight drug tests per month during the term of supervision,
            unless ordered by the Court.
            The
            If thisdefendant
                    judgment shall cooperate
                              imposes         as adirected
                                       a fine or             in the
                                                    restitution     collectionit shall
                                                                 obligation,     of a DNA    sample, pursuant
                                                                                       be a condition          to 18 release
                                                                                                      of supervised  USC 3583(d)
                                                                                                                             that the defendant pay
      any such fine
      Schedule      or restitutIOn
               of Payments          that in
                              set forth   remains   unpaid at the commencement
                                            this judgment.                          of the term of supervised release in accordance with the


      The defendant shall comply with the standard conditions that have been adopted by this court.            The defendant shall also comply
 with any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION

 I)   the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)   the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
      of each month;
 3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)   the defendant shall support his or her dependents and meet other family responsibilities;
 5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
      acceptable reasons;
 6)   the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
      controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)
      theadefendant
      of             shall granted
           felony, unless  not associate with any
                                   permission      persons
                                               to do so by engaged  in criminal
                                                           the probation  officer;activity and shall not associate with any person convicted
10)
      theany
      of  defendant  shall ooserved
             contraband     permit a In
                                     probation  officer
                                        plain view       to probation
                                                    of the  visit him or her at any time at home or elsewhere and shall permit confiscation
                                                                       officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
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        Sheet 3 -   Continued 2 -   Supervised   Release

                                                                                           Judgment-Page    ----4-- of -----=1
DEFENDANT:               Jose Neffer Castro Carvajal
CASE NUMBER:            OOCR3209-W


                                                 SPECIAL CONDITIONS OF SUPERVISION


l     The defendant shall remain outside of the United States of America during the term of supervised release.
